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 6                         UNITED STATES DISTRICT COURT
 7                              DISTRICT OF NEVADA
 8
      UNITED STATES OF AMERICA,
 9
                    Plaintiff,
10
            vs.                                                    2:12-cr-270-MMD-VCF
11
      [3] MATTHEW KIDLE and
12    [4] KASSIE BAKER,
13                  Defendants.
14

15                                  EX PARTE MOTION FOR SUMMONS

16                COMES NOW THE UNITED STATES, by and through its undersigned attorneys, and

17 respectfully requests that the Court issue summons directing defendants [3] MATTHEW KIDLE and

18 [4] KASSIE BAKER to appear before the Court on a specified date and time to be arraigned on the

19 charges pending in this case. As reason therefore, the United States respectfully states:

20     1.         Summons were previously issued scheduling the initial appearances and arraignments of

21                defendants [3] KIDLE and [4] BAKER for August 3, 2012. However, that setting was

22                vacated pending the execution of warrants for the arrest of co-defendants .

23     2.         Co-defendant [2] MICHAEL ALBANESE was arrested and was brought before the Court

24                on August 10, 2012.     Although defendant [1] CHARLES PECCHIO has not yet been

25                apprehended, the indictment was unsealed on that date.

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 1    3.      As a co-defendant has been arrested and the indictment unsealed, summons and arraignment

 2            of defendants [3] KIDLE and [4] BAKER would not compromise the criminal investigation

 3            at this time.

 4

 5            WHEREFORE, the United States respectfully requests the Court issue summons directing

 6 defendants [3] MATTHEW KIDLE and [4] KASSIE BAKER to appear before the Court on a date and

 7 time specified by the Court for purposes of their initial appearances and arraignment.

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 9            RESPECTFULLY SUBMITTED this 23rd day of August 2012.

10
                                                  DANIEL G. BOGDEN
11                                                United States Attorney

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13                                                      /s/
                                                  Timothy S. Vasquez
14                                                Assistant United States Attorney

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22                                       8-28-2012

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